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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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 9          TIMOTHY LINEHAN, on behalf of                      CASE NO. C15-1012-JCC
            plaintiff and a class,
10
                                   Plaintiff,                  MINUTE ORDER
11
                    v.
12
            ALLIANCEONE RECEIVABLES
13          MANAGEMENT, INC.,
14                                 Defendant.
15
            The following Minute Order is made by direction of the Court, the Honorable John C.
16
     Coughenour, United States District Judge:
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            Plaintiffs Jones, Root, and Hewardt and Defendants Olsen and Audit & Adjustment Co.
18
     have filed a notice of settlement (Dkt. No. 340). Pursuant to this notice, the Clerk is directed to
19
     TERMINATE Docket Numbers 307, 314, 317, and 331.
20
            Defendants Merchants, Bakke, and Woehler seek to renote their pending summary
21
     judgment motion (Dkt. No. 322) for March 31, 2017. (See Dkt. No. 341 at 1.) The request is
22
     GRANTED. The Clerk is directed to RENOTE Docket Number 322 for March 31, 2017.
23
     Docket Numbers 335 and 337 shall remain noted for April 7, 2017.
24
            Finally, on March 14, 2017, Plaintiffs Cormier, Erickson, Foutz, Mosby, Simmons,
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     Fernandez, and Rohr-Smith withdrew their motion to dismiss claims (Dkt. No. 302). (See Dkt.
26
     No. 334 at 1.) There is a pending motion by Defendants Merchants, Bakke, and Woehler for


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 1 relief from the deadline to join the responses to that motion (Dkt. No. 327). Because the motion

 2 to dismiss (Dkt. No. 302) has been withdrawn, the motion for untimely joinder (Dkt. No. 327) is

 3 moot. The Clerk is thus directed to TERMINATE Docket Number 327.

 4         DATED this 17th day of March 2017.

 5                                                        William M. McCool
                                                          Clerk of Court
 6
                                                          s/Paula McNabb
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                                                          Deputy Clerk
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